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¢ Ifyou are not the only supplier, what controlled substances will the pharmacy be
ordering from you, in what quantities, in what time frame, and will they be
ordering these same products from other suppliers?

e What ratio will you be supplying compared to other suppliers?

¢ Does the pharmacy fill prescriptions for out of state customers? If so, for how
many out of state customers does the pharmacy fill (ratio or approximate
number)?

¢ Ifthe pharmacy fills prescriptions for Pain Management or other specialty
practitioners (diet, oncology, etc.), is the pharmacist comfortable with the
prescribing practices of the practitioner?

¢ Has the pharmacist questioned or been uncomfortable with, the prescribing
practices of any practitioner?

e Has the pharmacy ever refused to fill prescriptions for a practitioner? If so, why
and who?

¢ Are there particular practitioners who constitute most of the prescriptions it fills?
Who are these practitioners (Name and DEA registration number)?

¢ Does the pharmacy have any exclusive contracts, agreements, arrangements, etc.,
with any particular practitioner, business group, investors, etc.? If so, explain
those arrangements and/or obtain copies of those agreements.

e Is the pharmacist comfortable enough with the prescribing practices of any or all
practitioners for which they fill, to stake their professional livelihood on it?

¢ Does the pharmacy supply, order for, or sell to any practitioners or other
pharmacies?

¢ How does the pharmacy sell/transfer controlled substances to other pharmacies or
practitioners? Via a prescription, sales invoice, or DEA Form-222? (Transfer by
prescriptions is not authorized).

Possible questions for a practitioner:

e What is the practitioner’s specialty, if any (family practice, oncology, geriatrics,
pain management, etc.)?

¢ Do the controlled substances being ordered correspond to his specialty or the
treatment he provides?

¢ What method of payment does the practitioner accept (cash, insurance, Medicare)
and what is the ratio of each?

e Has the practitioner ever been disciplined by any state or federal authority?

¢ How many patients does the practitioner see each day? What is his weekly
average?

¢ Does the practitioner prescribe as well as dispense?

¢ Why does the practitioner prefer to dispense as opposed to prescribe?

¢ Who was the practitioner’s previous supplier? Are they still ordering from this
supplier? If not, why are they looking for a new supplier?

¢ Do the hours of operation and the facility accommodate the type of practice being
conducted?

¢ Does the practitioner’s office have security guards on-site? If so, why?

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e Are all applicable state, federal, local licenses current and are they issued for the
registered address at which the practitioner is practicing?
¢ Does the practitioner see out of state patients? If so,
oO From what states,
o How many,
© Approximate ratio of out of state compared to local, and
o Why, specifically, they travel so far to see him?

e Can the practitioner provide a blank copy of an agreement which they enter into
with a patient, specifying the course of treatment, the patient rights and
responsibilities, and reasons for termination of treatment?

¢ Does the practitioner conduct random unannounced drug testing?

¢ What measures does the practitioner employ and/or monitor to prevent addiction
and diversion of controlled substances?

e Are there more than one practitioner dispensing controlled substances from the
registered location?

¢ Do you order for just yourself or for the whole clinic?

¢ What controlled substances are you currently dispensing? (If only one or two
controlled substances are being ordered, have the practitioner fully explain why
he administers or dispenses only these specific controlled substances).

¢ In what dosage levels is the practitioner dispensing (2 tablets, 4 times a day, for
30 days, or 90, 120, 240 a week, month).

¢ Does the practitioner prescribe as well as dispense to his patients?

¢ Does the practitioner prescribe the same controlled substances as were dispensed
to the patient?

e How many patients is the practitioner presently treating (day, week, and month)?

Should you have any additional questions, concerns, or issues beyond what has been
presented; it is strongly recommended you contact your local DEA Office.

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September 12, 2012

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NEW DATA REVEAL 400% INCREASE IN SUBSTANCE ABUSE TREATMENT
© ADMISSIONS FOR PEOPLE ABUSING PRESCRIPTION DRUGS
White House Bulletin

WASHINGTON - Today, Gil Kerlikowske, Director of National Drug Control Policy
(ONDCP), and Thomas McLellan, Deputy Director of ONDCP, joined Peter Delany,
Director of Substance Abuse and Mental Health Services Administration's (SAMHSA)
Office of Applied Studies, and Michele M. Leonhart, Acting Administrator of the Drug
Enforcement Administration (DEA), to release a new study showing a 400 percent
increase in substance abuse treatment admissions for prescription pain relievers.
Governor Jack Markell of Delaware and Chris Kennedy Lawford were also in
attendance.

The study, Substance Abuse Treatment Admissions Involving Abuse of Pain Relievers
4998-2008, conducted by the SAMHSA, and based on the agency's Treatment Episode
Data Set (TEDS) reveals a 400 percent increase between 1998 and 2008 of substance
abuse treatment admissions for those aged 12 and over reporting abuse of prescription
pain relievers. The increase in the percentage of admissions abusing pain relievers
spans every age, gender, race, ethnicity, education, employment level, and region. The
study also shows a more than tripling of pain reliever abuse among patients who
needed treatment for opioid dependence.

"The TEDS data released today highlights how serious a threat to public health we face
© from the abuse of prescription drugs", said Gil Kerlikowske, National Drug Policy

Director. "The spikes in prescription drug abuse rates captured by this study are
dramatic, pervasive, and deeply disturbing."

"The non-medical use of prescription pain relievers is now the second-most prevalent
form of illicit drug use in the Nation, and its tragic consequences are seen in substance
abuse treatment centers and hospital emergency departments throughout our Nation"
said SAMHSA Administrator Pamela S. Hyde, J.D. "This public health threat demands
that we follow the President's National Drug Control Strategy's call for an all-out effort to
raise awareness of this risk and the critical importance of properly using, storing, and
disposing of these powerful drugs.”

"The data released today is alarming and shows the tremendous damage being caused
by prescription drug abuse all across this country each and every day,” said DEA Acting
Administrator Michele M. Leonhart. "The effective enforcement of laws regulating the
distribution of controlled substances, coupled with their lawful disposal are essential
parts of a comprehensive strategy to reduce drug abuse. DEA is committed to being
part of the solution, however it will take all of us working together to prevent the
tragedies that inevitably come with drug abuse."

"This rise in prescription drug abuse is no surprise to the doctors and law enforcement
professionals who see its effects in our communities,” said Governor Markell. "We have
© been focused on making sure that health care professionals have the best tools

 

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available to detect and prevent this kind of abuse before it ruins lives. Delaware's new
© legislation to authorize a prescription monitoring program is one of those tools and an
important component of the President's National Drug Control Strategy.”

"Our national prescription drug abuse problem cannot be ignored. | have worked in the
treatment field for the last 35 years, and recent trends regarding the extent of
prescription drug abuse are startling,” said A. Thomas McLellan, Deputy Director of
ONDCP. "We must work with prescribers, the pharmaceutical industry, law
enforcement, and families to help us fight this scourge.”

The National Drug Control Strategy, released in May, outlines several steps to address
what Director Kerlikowske calls "the fastest-growing drug problem in the United States"-
-prescription drug abuse.

They include

* Increasing prescription drug return, take-back, and disposal programs. Prescription

drugs that are commonly abused are often found in the family medicine cabinet, and

individuals should get rid of unused or expired prescription drugs to prevent diversion
and abuse.

* Educating physicians about opiate painkiller prescribing. The Administration's FY 2011
Budget request proposes funding for a program to train prescribers on how to instruct
© patients in the use and proper disposal of painkillers, to observe signs of dependence,
and to use prescription drug monitoring programs to detect when an individual is going
from doctor to doctor in search of prescriptions (also called "doctor shopping”).

* Expanding prescription drug monitoring programs. Currently, these programs are
operating in 34 states. The Administration supports establishment of these programs in
every state, and is seeking to ensure new and existing monitoring programs effectively
use the data they acquire and share information across state lines.

* Assisting states in addressing doctor shopping and pill mills. Criminal organizations
have established thriving businesses of transporting people to states with little
regulation to obtain prescription drugs from multiple doctors or from pill mills, which
distribute drugs indiscriminately. Federal, state, local, and tribal authorities are working
together to address this problem.

* Driving illegal Internet pharmacies out of business.

* Cracking down on rogue pain clinics that do not follow appropriate prescription
practices.

The National Drug Control Strategy provides a blueprint for reducing prescription drug
abuse. Parents, law enforcement, the medical community, and all levels of government
© have a role to play in reducing prescription drug abuse.

 

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© Later today, Director Kerlikowske will travel to Delaware to:attend Governor Markell's bill
signing for the Delaware Prescription Drug Monitoring Program.

 

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U.S. can stop some drug sales at 2 CVS
© stores: judge

Tue, Mar 13 2012

WASHINGTON (Reuters) - The U.S. Drug Enforcement Administration can stop two CVS Caremark Corp
pharmacies from selling potentially addictive drugs in a case involving suspected prescription drug abuse, a
federal judge ruled on Tuesday.

U.S. District Judge Reggie Walton vacated a temporary restraining order that had blocked the Drug
Enforcement Administration (DEA)from acting against the two Florida stores suspected of selling doses of
the painkiller oxycodone outside legitimate channels.

Walton stayed his ruling until 10 a.m. (1500 GMT) on Wednesday to give CVS Caremark attorneys time to
appeal. But the company appealed later on Tuesday. Further details were not immediately available.

CVS Caremark had asked the judge to impose a preliminary injunction that could have blocked the DEA
from taking action until an administrative law judge decided the matter later this year.

Walton said he could find no reason to believe the CVS argument that DEA had acted in an “arbitrary and
capricious” manner in ordering sales suspended or that remedial steps taken by CVS were sufficient.

"We are disappointed with today’s ruling," CVS said in a statement. "Regardless of today's outcome, we
remain committed to working with the DEA to do everything we can to reduce prescription drug abuse.”

The litigation stems from the DEA's battle against prescription drug abuse, which has surged in the United
States to eclipse abuse of most illicit drugs including heroin and cocaine.

The DEA said in court documents that about 7 million Americans abuse pharmaceuticals made with
controlled substances for purposes not related to medicine and that Florida is the center of the growing
epidemic.

The federal agency cited state statistics showing a 346 percent increase in overdose deaths related to
© oxycodone from 2005 to 2010, and an average 11 deaths per day from oxycodone, methadone,
hydrocodone, benzodiazepines or morphine.

In a case related to the CVS ruling, Walton last month allowed the DEA to suspend Cardinal Health Inc's
license to distribute controlled substances from a Florida facility that serves about 2,700 drug stores or
hospitals.

The ruling was later blocked temporarily by a U.S. appeals court. Walton said he expected the appeals court
to take the same action on CVS.

The CVS stores are two of four Cardinal customers that DEA has said were inappropriately filling oxycodone
prescriptions.

A CVS attorney said the company had stopped oxycodone sales at the two pharmacies. But a Justice
Department attorney said suspicious sales had involved other controlled substances.

The DEA charged that between January 2008 and December 2011 the two CVS stores purchased amounts
of oxycodone far in excess of normal pharmacy volumes, ignored DEA warnings and addressed the issue
only after the DEA acted. ,

ACVS attorney told the court that the volumes were not out of line for high-volume pharmacies that maintain
24-hour service and argued that remedial steps taken by CVS had eliminated any immediate danger to the
community by the time the DEA ordered sales suspended in February.

The case is Holiday CVS LLC v. Justice Department, No. 12-00191.

(Reporting By David Morgan; Editing by Gary Hill)

 

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DEA: Oxycodone orders by pharmacies 20 times average
© USA Today.com

Two Florida CVS pharmacies ordered more than 3 million oxycodone pills in 2011, more
than 20 times higher than the national average, DEA agents said Monday.

As part of a crackdown on rampant painkiller abuse in Florida, the Drug Enforcement
Administration charged a major health care company and the two CVS pharmacies in
Sanford, Fla., with violating their licenses to sell the powerful pain pills and other drugs.

"It's a tremendous amount, way beyond what would be for legitimate use,” said Mark
Trouville, DEA special agent in charge of the Miami Field Division. "We're not talking
about a gray area here.”

The average pharmacy in the United States ordered about 69,000 oxycodone pills in
2011, the DEA said. The two CVS pharmacies, located less than 6 miles apart, ordered
3 million.

It is the first time the DEA has suspended the license of a chain pharmacy in Florida for
its alleged role in the state’s prescription drug abuse problem, Trouville said. The DEA
had previously targeted pain clinics known as "pill mills" where rogue doctors prescribe
thousands of pain pills with only cursory examinations.

"This is absolutely not the end of this investigation,” Trouville said. "We knew when we
© hit the pill mills that pharmacies would be the next issue. We just didn't know chain
pharmacies would get into it.”

CVS said it took steps with DEA's knowledge to stop filling prescriptions from doctors
thought to be prescribing improperly.

"We informed a small number of Florida physicians that CVS/pharmacy will no longer fill
the prescriptions they write for Schedule II narcotics," spokeswoman Carolyn Castel
said in a written statement. "Distributions of oxycodone to the two Florida stores have
decreased by approximately 80% in the last three months compared to the prior three
months — we believe in large part due to our action."

On Friday, the DEA on suspended Cardinal Health's controlled substances license at its
Lakeland, Fla., distribution center after linking it to high-volume orders of pain pills to
four Florida pharmacies, including the two in Sanford. The distribution center services
2,500 pharmacies in Florida, Georgia and South Carolina.

A federal judge temporarily halted the suspension after Cardinal said it would stop

supplying the drugs to the four pharmacies. A hearing on the suspension order was set
for Feb. 13 in Washington, D.C.

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Cardinal CEO George Barrett called the DEA action a "drastic overreaction" and said
© the company has "extensive processes” to prevent diversion of its pharmaceuticals for

illegitimate use. Cardinal's internal controls have flagged more than 160 pharmacies in

Florida and 350 pharmacies nationwide for "suspicious order patterns,” he said.

"The needs of pharmacies are varied, and higher volumes can be appropriate based on
a number of factors, including pharmacy size, hours of operation, patient demographics,
and proximity to hospital and surgery centers, nursing homes, cancer clinics and
hospice providers,” Cardinal said in a statement.

 

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DEA moves against two Florida pharmacies, distributor over pill sales

CNN.com
©

(CNN) -- Agents from the Drug Enforcement Administration raided two CVS pharmacies
in central Florida over the weekend, removing controlled substances and suspending
the stores’ ability to handle or distribute drugs such as painkillers oxycodone and ©
hydrocodone.

The DEA said that during one year, the two pharmacies -- both in Sanford, Florida --
ordered more than 3 million oxycodone units from a pharmaceutical wholesaler, while a
typical pharmacy orders 69,000.

"Each registrant (pharmacy) was filling prescriptions far in excess of legitimate needs of
its customers," said DEA Special Agent in Charge Mark Trouville during a press
conference Monday in central Florida.

The DEA also has suspended the controlled-substance license of the wholesale
distributor, Cardinal Health of Lakeland, Florida, according to Trouville.

"Cardinal Health did not fulfill its due diligence to insure controlled substances were not
diverted into other than legitimate channels,” Trouville said.

On Friday, Cardinal Health filed and received an emergency injunction from a federal
judge in Washington allowing the drug supplier to continue filling orders for other
pharmacies.

"We believe the DEA is wrong,” said Cardinal Health Chairman and CEO George
Barrett in a written statement.

"We strongly disagree with the allegations the DEA has made against our facility and
intend to vigorously challenge this action," said Barrett.

The two Sanford pharmacies remain open filling regular prescriptions but they cannot fill
prescriptions for controlled substances such as oxycodone, one form of which is the
well-known narcotic OxyContin.

CVS said in a written statement that the company is disappointed by the DEA actions
but is fully cooperating with the DEA suspension.

"CVS/pharmacy is unwavering in its compliance with and support of the measures taken
by federal and state law enforcement officials to prevent drug abuse and keep
controlled substances out of the wrong hands,” said CVS spokesman Mike DeAngelis.

Hearings on the suspensions will be held but no date has been set.
Trouville said that since the state of Florida moved to crack down on "pill mills” by |

banning doctors from directly distributing controlled narcotics, pharmacy sales of
controlled substances have skyrocketed.

 

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DEA agents 1 raid

 

By ARELIs R. HERNANDEZ
Staff Writer

Federal drug authorities raided two’

CVS. stores in Seminole County ‘on Sat-
urday, removing boxes of medication and

othermaterials from the pharmacies.
"CVS spokesman Michael DeAngelis

said the raid was related to action a day
earlier by the Drug Enforcement Agency
against Cardinal Health, which has adrug-

distribution center in Lakeland.

The DEA tried to suspend the license of
Cardinal Health in order-to stop the.com-
pany from shipping drugs such as oxyco-

done and hydrocodone from the Lakeland .

center, But a judge blocked DEA’s order.
In astatement released Friday, Cardinal,
a billion-dollar pharmaceutical company,

said it distributes drugs to more than 2,500 -

pharmacies in the Southeast, including
four pharmacies listed in the DEA’s order,
that are accused of filling prescriptions for

: purposes other-than for legitimate medical

reasons. .

Agents on Saturday first raided the cvs
pharmacy at 3798 Orlando Drive in San-
ford, and then removed boxes from anoth-

er CVS pharmacy at 5198 W. First St. in:

Sanford.

About a dozen DEA agents worked for ~
_ hours at each location packaging items

from behind the pharmacy counter while |
CVS employees went about their business -

helping customers fill prescriptions. |

CVS/pharmacy stores i in Florida from dis-

pensing controlled substances,” DeAngelis -

said in a statement Saturday. ~
‘The raids come amid aggressive-action

by the DEA against businesses accused of
dispensing suspicious ‘prescriptions for

powerful - “pain killers and anti-anxiety
drugs.
Cardinal Health said it has cooperated

with the agency and has stopped shipping -
to more than 160 Florida pharmacies i in the —

past four years. _

“We believe the DEA is wrong,” Cardi-
nal chairman and CEO George Barrett said
in a statement. He added that the company
has “extensive processes to help prevent
those medicines from falling in the wrong

: hands”
CVS also defended its record, describing -

its compliance with state and. federal law

. enforcement as “unwavering” in order “t

prevent drug abuse and keep controlled
substances out of the wrong hands.”
More than two months ago, the com-

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__ STEPHEN M, DOWELL/STAFF PHOTOGRAPHER
DEA special agent David Melenkevitz
removes boxes of prescription painkillers
froma Sanford CVS store Saturday.

‘pany senta letter to asmall group of Flori-
da doctors telling them that they would no .

longer fill the prescriptions they write for
painkillers and other addictive drugs. :
“While ‘we regret any inconvenience
this may cause for our customers, we treat
the dispensing of controlled substances
with the utmost care and seriousness,”

| CVS said in an email statement to the: .
- “We are disappointed that the DEA has -
taken administrative action to prohibittwo. ©

Orlando Sentinel last month.

At least one doctor oni the list filed a
defamation suit against CVS, saying the list
falsely implied ‘that the ee was act-
ing unethically or ille

The ‘pill-mill epidemic i in Florida has °

prompted new laws and beefed-up law
enforcement, which officials said last week
is having a positive impact.

For example, sales of the painkiller oxy-

- codone ‘dropped 20 percent last year in

Florida, the: Drug Enforcement Adminis-

_tration’said. And the number of powerful
. narcotic pills sold by Florida pharmacies:

and doctors dropped from 622 million in
2010 to 498 million last year.

CVS emphasized its role in that effort,
saying oxycodone distribution at the two
stores raided Saturday have “decreased by

approximately 80 percent in the last three |

months compared to the prior three

-months — we believe i in large part due to

our action.”

arehernandez@tribune.com or

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Cardinal Health settles drug distribution case

USA Today
© May 16, 2012

The DEA suspended Cardinal Health, the country's second largest drug distributor, from selling
and shipping powerful painkillers and other drugs from its Lakeland, Fla., facility for two years
as part of a settlement reached Tuesday.

The Drug Enforcement Administration sought to revoke Cardinal's license in February, accusing
the company of selling excessive amounts - more than 12 million oxycodone pain pills - to four
Florida pharmacies over three years. The DEA said the company did not report suspicious orders
or visit the chain pharmacies that purchased large amounts of the drugs.

The DEA also suspended controlled substances licenses for two CVS pharmacies in Sanford,
Fla., which purchased millions of oxycodone pills from Cardinal. A judge is expected to rule on
the CVS case this month.

"Cardinal Health is not above the law," said Joe Rannazzisi, DEA deputy assistant administrator.
"With this agreement, it admits that it neglected its vital responsibility to prevent the diversion of
controlled substance medications.”

While the agreement resolves the licensing issue, the DEA said it may pursue civil penalties,
including fines, against the company. The Dublin, Ohio-based company had revenue of more
than $100 billion in 2011.

This is the second time the DEA has taken action against Cardinal. In 2008, Cardinal paid a $34
million fine after the DEA accused it of shipping excessive amounts of hydrocodone, another
powerful painkiller, to Internet pharmacies. As part of that settlement, the DEA suspended
licenses at three distribution facilities for a year.

Cardinal admitted Tuesday it had "inadequate" control over some of its controlled drugs and had
not fully complied with the 2008 agreement.

"This agreement allows us to put this matter behind us, and just as important, will clear the way
for a more productive dialogue about how we and others in the health care and regulatory _
community can work together to prevent the abuse and misuse of prescription drugs," Cardinal
CEO George Barrett said.

The five-year agreement applies to all 28 of Cardinal's distribution facilities and requires the
company to review orders for the controlled drugs, visit pharmacies to look for signs of diversion

and hire extra field inspectors for Florida pharmacies.

The Lakeland facility can still distribute non-controlled drugs and medical supplies.

 

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Cardinal Plant Can’t Ship Pain Pills
© Wall Street Journal

A U.S. appeals court ruled Friday that a Cardinal Health Inc. distribution hub in Florida
can't ship prescription painkillers while the company battles a Drug Enforcement
Administration move to suspend that facility's license.

While the appeals court recently issued a stay of the DEA's enforcement efforts against
Cardinal's Lakeland, Fla., facility, the court Friday said Cardinal hasn't met the "stringent
requirements for an injunction.” The decision means the Lakeland facility can't ship
controlled substances until the appeal is sorted out.

Cardinal, based in Dublin, Ohio, said it activated contingency plans earlier this month
“and will continue to endeavor to meet our customers’ needs with minimal disruption
from our other distribution centers.”

The contingency plans involve shipping controlled drugs to customers in the Southeast
U.S. from alternative facilities in Mississippi or North Carolina. Analysts have said the
plans could add transportation costs to Cardinal and delay deliveries.

The suspension of the DEA license means the Lakeland facility is blocked from shipping
controlled medications like the pain drug oxycodone to thousands of pharmacies,
hospitals and other health-care providers. Cardinal, the nation’s No. 2 drug distributor by
© . sales after McKesson Corp., can still ship noncontrolled medications, which include
most prescription drugs, and supplies such as surgical packs.

The DEA also suspended last month the controlled-medication licenses of four Florida
pharmacies, including two owned and operated by CVS Caremark Corp. CVS won a
temporary, administrative stay on Wednesday to keep dispensing controlled
medications after an appeals court denied the pharmacy chain’s request for a
preliminary injunction.

The DEA took action against the Lakeland facility last month while accusing Cardinal of
not doing enough to stop oxycodone abuse. Cardinal has said that it supports the DEA's
efforts but also disagreed that it wasn't doing enough.

A U.S. District Court Judge ruled in late February that the government acted properly in
trying to cut off shipments of oxycodone from the Lakeland site. Cardinal appealed that |
ruling in the U.S. Court of Appeals for the District of Columbia Circuit.

 

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© _ DEA searches Fla. Walgreens in

painkiller probe

CURT ANDERSON, AP Legal Affairs Writer
Updated 3:01 p.m., Friday, April 6, 2012

MIAMI (AP) — Federal drug agents have
searched six Walgreens pharmacies and a
company distribution center in Florida as
part of an investigation into prescription
painkiller drug abuse, U.S. Drug
Enforcement Administration officials
said Friday. .

The distribution center in Jupiter and the
six pharmacies — two in Fort Pierce and
one each in Hudson, Port Richey, Fort
Myers and Oviedo — all showed signs of
© suspiciously high distribution of the highly

addictive drug oxycodone, a DEA
‘investigator wrote in an affidavit for the
search warrants.

Such large amounts, investigator Marjorie Milan wrote, indicates "a pharmacy that
fills prescriptions issued by physicians at pain clinics and/or a pharmacy which
services primarily drug-seeking individuals who abuse the medication."

The searches for pharmacy records conducted Wednesday are the latest in a
crackdown by federal and state authorities on “pill mills" and other illegal sources of
prescription drugs in Florida, which has become the nation's leading source of
oxycodone and similar drugs. The DEA says that prescription drug abuse now
exceeds abuse of all illegal drugs combined, except marijuana.

Michael Polzin, a spokesman for Deerfield, Ill.-based Walgreens, said it is
cooperating in the investigation.

8/14/2012

 

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Earlier this year, the DEA moved to suspend the sale of similar controlled

© -substances at two CVS pharmacies in the Orlando area, and the shipment of them
from Cardinal Health Inc.'s Lakeland, Fla.-based center that supplied the stores. A

- federal appeals court recently upheld those suspensions.

DEA records cited in the Walgreens affidavit show sharp increases in oxycodone
“purchases at each of the locations. For example, the pharmacy in Fort Myers went
from selling 95,800 units of oxycodone in 2009 to more than 2.1 million units in
2011 — good for 67 percent of all the oxycodone purchased by pharmacies in that

same zip code in 2011. :

In the first two months of this year, the DEA added, 53 Walgreens pharmacies are
listed in the agency's top 100 purchasers of oxycodone. In 2009, none were on
the list.

Earlier this year, the DEA released figures showing that Florida may be losing its
distinction as the nation's leading illicit source for painkillers because of the ongoing
law enforcement crackdown and several new laws. Florida also last year began

© _ operating a prescription drug tracking system and database aimed at combating
illegal diversion of the drugs.

About 85 people, including at least 13 doctors, have been arrested in South Florida
over the past year on pill mill-related charges, according to federal prosecutors.

8/14/2012

 

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The DEA’s prescription drug policy saves many lives
Wall Street Journal
© _ By: Peter Bensinger and Robert L. DuPont

Scott Gottlieb's "The DEA's War on Pharmacies—and Pain Patients" (op-ed,
March 23) hardly tells the true story of prescription drug abuse and the

_ government's response. In the current Cardinal Health case, the Drug

_ Enforcement Administration discovered numerous oxycodone transactions that
greatly exceeded the "suspicious order” criteria in the law and were not halted or

_ reported to the DEA. Cardinal Health was fined $34 million in 2008 for similar
violations. a

Last July, the Florida legislature declared a public-health emergency—not
because of a shortage of medicine, but because of increased overdose deaths.
caused by prescription opioids. Last year 25 distributors provided over 570
million dosage units of oxycodone in Florida alone, with Cardinal Health
accounting for 25%.

Dr. Gottlieb thinks transferring DEA's responsibilities to the FDA would be a good
idea, yet the FDA's record when it comes to regulating controlled substances is
not good. In 1996, DEA asked FDA to schedule Soma (carisoprodol), a muscle
relaxant abused by opiate addicts. In 2009, 13 years later, the FDA granted
permission to schedule the drug. In 2004, the DEA asked the FDA to reschedule
-hydrocodone products (Vicodin, Lortab, etc.). The FDA responded four years
later but did not agree to tighten the controls on what continues to be America's
© most frequently prescribed opioid associated with significant overdose deaths. A
bill currently in Congress, if passed, will accomplish this long overdue action.

Prescription-drug overdose deaths now exceed U.S. motor-vehicle fatalities. The
only federal agency that has confronted the unlawful diversion of these drugs is
the DEA. Shifting regulatory control from the DEA to the FDA would accomplish
nothing, but would add to the problem.

The DEA represents the unspoken interests of tens of thousands of victims
harmed or killed each year by prescription drug abuse. The DEA's enforcement
actions in Florida are clearly in the public interest, and its regulatory authority
should not be diminished, but strongly supported.

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Z 40 | eBeq

 

 

 

 

 

 

 

  

 

 

  

 

 

 

 

 

 

 

 

  

 

  

 

 

   

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

  

 

 

 

 

 

  

   

 

   

 

oos'92 | Logs AM AdTx03¢ HOIS Ve ‘OO NSSYxD TVM) 6S9Ec¢cl Md
oOSs'Z2 | vO66L 3a YySA0”0 iLN3™x “ONI SAYYWH AddVH SL8S680HA
O09'42 ZOSPE dd NOLNACVed FSLVYNVA| OT] VLOSVYVS JO SSDIANSS Hf 689S0El rs
ooe'sz 2eES IM SSNVM IIA SSyNVMIIA ‘OD NSSYO WM L6SZe8S Ma
00162 LOZ6} 3a dvs S1LSVO MAN “ONI S.AYYVH AddVH 9z0SZ86HE
002'62 6L62E! NL STUAXONY XONY ¥19# AOVWYVHd ALID GOO4 9zS0002498
00662 g0ese, ZV AIWONS19 VdOOldvW| ‘OO ONY VNOZINV NSSYOT VM L8Z6-8EMa
009'18 LOLS2 AM NOLONILNNH T1S8vo 9# AOVWYVHd Ldld¥odSasdvs 6reoressd
008'18 LO8Zze dd OGNVTYO AONVYO ‘OD NASYO WM S69rrrL MS
oos'es S0962 os SATIANSSY9 STIANSSYS YO SSOUD AOVWYVHd SLVLSdN} Z-SOOZILNA
oos'es SOLZE dd Od3IAO AFIONIWAS ‘OO NSaYS 1VM Sl¥ZOSSMa
00¢'98 LO8se AM AdTH93g HOIS We ‘OD NS3Y91VM PLSprl LM
002'98 L062 Yv HLINWS LYOs NVILSVGSS| ADVWaVHd ATINVA TIVWNOILYN | LECOGSLNV
00226 899rE lA ASHOIY LYOd OOSVd ‘OONSSYDIVM, —_LvzOeSBMV
00z'€6 l cS6re dd} SION LNIVS LYOd BION LNIVS ‘OD NASYO WM OL2L9S9Ma
00S'%6 L262 aw NOLM13 MOAD|INOLATS AO ONI AOVWWYWHd ALIS ZLLLOLLLY
00%'96 Z€0S8 ZV XINAOHd VdOolyvn AOVWWYVHd VITISY LS gzose2639g
006'86 SO6ZE dd AVE W1Vd QuYVvAseg “OO NSSYDTVM POESTOEMV
000'66 O€Zce) 7d AddagTassvo SIONIWAS ‘O93 NASYOTVM O9L87GL Md
00Z' LOL 92L0Z; V1; SONIYdS WVHN3G NOLSONIAII AOVWYVHd A9DVTIIA 6L88LLEAS
009‘SOL 80S66 AV ASDVYOHONY ADVYOHONY AOVWYVHd S.SINYS9 L6rrrc6aVv
009'SOL LOZEV HO SNaWntod NITHNVas b-WWaVHd 9Prroselds
00z‘901 | ZPOS | | Vd NIMYl| ONWISYOWLSAM AOVINYVHd NIMYON 9¢ZPPZ6Na
oo¢e’90l e9661 3d; QYOJ TIN X4assns “ONI 'S:AAMYWH AddVH ZLGLSLLHA
ooe'60l SELPe VW SONIYdS VLINOG SAT OILVeHOdHOO HLIVWAH GAWSYvV9 ZS¢971 2098
00860 | L86¢rE Id AOYAld LYOSs AION LNIVS ‘OO NASYOTWM v67eL8SMa
009'01L C966l 3d aYosIIW X4Ssns _ AOVWaVHd X08 Tid SHL S96/E661L9
OOr'L ZL 82902 QW) MOlWS03ys SONId | LYsAIV9 ‘O93 NASAYOTWM €8eZ/20M4
000221 6ELSL Vd LNOWXVO | ANSHOSTW AddOHS ANIDIGAW SHL rrpl9l01d
008‘221 L99PE VJ NOSCNH! OOSVd "OO NSSYO WM c66EL LPM
o0e'8zl G9OlZE dd OQ3IAO) JIONINAS ‘OD NASYS WM 8erZ8r8Ma
008'LEL vELEg OW SINOTLNIVS) SINOTLNIVS SldlWDS SSSYdxK4a Ller7sorad
000'8rt eL661 4d auOsv3s! X3Ssns “ONL S.AMYWH AddVH LveeSs80H4
OOLL EP LO6EE Id SYSAW LYOS) ‘OO NESBYOTWM LZL8996 MV

 

     

 

 

US-DEA-00000078

Confidential — Subject to Protective Order
 

Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 23 of 40. PagelD #: 358446

 

 

 

  

 

 

 

 

 

 

 

 

 

 

  

 

 

 

  

 

 

 

  

 

 

 

 

 

  

 

 

 

 

 

  

 

 

  

 

 

  

 

soouVv :eunos yup sishjeuy pue Bunabue) ‘uojoag suoyeBysenu| jeOyNEOeWWeU, ‘[OUOD UOISIBAIG JO SOO ‘UOHeRSIUIUpY JUsLUsdOJUy Brug Zjoz ebeg

ZLOZ/E0/P0 : Posedealy ajeq

oo9'e9 | NOLNSQVYE FS LVNVW ‘OD NSASYO WM LySOZO9MY| 0S
006'€9 HOOILNY NOSQIAVG| DONI AOWWYVHd SSSN7T13M SHL 991S8r2 1d 6P
00e'79 VLOSVYVS VLOSVYVS ‘OD NSSY9 WM 66906272MV | 8h
00L'r9 LYVNLSs NILYVA ‘OO NAaYO WM E9PsOlLMV LP
002'79 NMOLS9YOS9 x4assns “ONI SAMYVH AddVH LpepZ86Hd|9P
000‘'S9 O18sNd o19g3nd ‘OO NASYO WM 906Z669Md | SP
002‘S9 SILSVO MAN 3TLSVO MSN AOVWYVHd YONVIN O80EZrsWV| rr
00s‘89 OGNVTHO SADNVHO ‘O90 NASYDIVM SLEECLEMA|EP
009'89 VTIISVMNLISNS VHSNNVLIVA ‘O90 NS3SY9D WM elGccrl Md) er
008'89 SYNESYALad LNIVS SVTISNId ‘OO NSSYD WM PECEPOOMV | LP
009'e2 OYNEgSsHaLlad LNIVS SVTISNId ‘O09 NSSYD WM 6S28S//Md|0r
006‘eZ SALLOTYVHS LYOd SALLOTYVHO ‘OO NSSYO WM O88lOlLZMd|6E
002’ PZ YSALSSHONIM AYV19 OD NAAYD WM 22Z8890M4|8t
O0E' FZ 1ayNnvd X3SsSns ‘ONI S.AYYVH AddVH 9L2SZ86HA| LE
OOP’ FZ ATIAXONY XONy 919 # AOWWYVHd ALID GOO4 680082144 /9€
00s'92 NOLNSOVYed SJSLVYNVA “OO NASYDTWM 6ESOZOOMV|SE

7 een = oui a Tae areas

 

 

 

 

 

 

 

US-DEA-00000079

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 24 of 40. PagelD #: 358447

SOON :eoun0S
ZLOZ/E0/P0 :

 

Wun sisAjeuy pue Bujabve, ‘uonoag suojeBbnsenu] [EoWNsoeUWeLY ‘|O.NUOD UOISIOAIG JO SOO ‘UONeNSIUILUpY JUeWaOJOjUy Bq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

    

 

   

 

 

    

 

      

peiedaig aeq
00S'961 CLLEGE Tdj SYNESYAL3d LNIVS SVTIANId ‘OD NAAYOTWM| PECEPOOMY
009' 461 LO82E ld OQNVTYO JONVYO ‘OD NSAYD WM! S69Prrl Md
006'10Z 60eee Td} SAIWOYAaGNV] LYOsA Quv¥MOYg ONISSYOLSH BP] 9SrSZ9Era
002'Z07 Cece lA VLOSVUVS | VLOSVYVS ‘OD NSAYO WM! 6E906227MV
009' 702 690SP HO YALSAHO LSSM Ya ILNE|OSLHOIY VEC ON] AOVWYVHd VNVWAH| €leSe80Hs
009'S0z PL Pe? ld NOLONITISAM HOV3d Wivd ‘OD NSAYD WM! 6627900M4
OOF‘ 902 OS6rE VA ADYAld LYOsS FIDN1 LNIVS ‘O09 NASYOWM| eressecmMy
000'802 8Zree dd NOLVd VOOU HOVsd WiVvd ‘OD NSAYOTVM| Z¢S9S02 Ma
008'602 vOPEE Td| HOVAd WiVd LSAM HOV WiVvd ‘OD NSAYO WM] ZE0L0ZOMV
002'012 LI6LE| NL SATIUAXONY XONY Onwd M3139] 69leseoagd
OOL'7 LZ vELLO. TN SYUNESNvaw HLNOWNOW SONY OYNESNVAM! OFLLecenv
OOr'L12 ZL8CE dd OONV71HO AJONVYO ‘OD NAAYOWM| ZS62880Md
00S'Szz SO6CE lA AVE Wivd QuYVAdYd ‘OD NSSYDTVM) POEscOeMY
00r'8zz bL2e€ ld ood) SVTIANId ‘O90 NSSYDTWM! €c60P68ME
006'rrz L66PE ld LYVNLs NILYVIN ‘OO NSSYUD VM! €9789ZL MV
00t'ZrzZ OVPre dA VSSVSOWOH Snylld OO NSSYD WM) 221 2Sv0M4
00€'6SZ 6L6ZE NL ATUAXONY XONY b69# AOVWYVWHd ALID GOOS| 80S6P9639
00€'S8Z OL eze Td} ATIUANOSMOVE WANA ‘OD NAFYOWM| 81 +62el Md
008'68z €0001 AN) MYOA MAN MYOA MAN ddvsy ANVNd| 20¢86sods
002‘ 162 cOLEe Taj SYNESHALad LNIVS SVTIANId ‘OD NAAYOTWM| LE9sz96 Mag
000'S6Z | _.. 28rHe ld VIVOO NORV ‘O90 NSAYO TWM| 2668896Ma
00€'S6zZ OPPPE ld VSSVSOWOH SNYLIO ‘O90 NASYOTVM| 812081 MV
oor'soe ogZee Td Adds 1assvo SJIONINAS ‘OO NSSYO WM! 09287S1 Md
OOL'PEe ___ +0622 YV) HLIWS LYOSs NVILSVd3SS AOVWYVHd ATINWS TWNOILVN| LEESSSLNY
oog'9se | ce6le NL ATIAXONY XONM 919 # AOVWYVHd ALID GOOs| 680082144
008'r0b eS6PE Ts|_ SION LNIVS LYOd AION LNIVS | ‘OD NSAYO WM! 09-67e+Mad
002'8L+ Leévol V1 VYSNIV9508| NOLONIHSVM| O71 ‘SddOHS G3AW S.AMOON| SSEeserl ys
00S‘62r eS6PE dd} SION TLNIVS LYOd AION LNIVS ‘OO NSAYO WM! 0221 9S9Mg
006'6Er L86re A SHDYAld LYOS AION LNIVS | ‘OD NSSYO WM! r6reZ8SMg
00S‘819 Z06E¢ 1d SYSAW LYOS | 531 ‘OD NSSYO WM!) £28991 MV
008'8LZ L99PE dad NOSQNH| OoOSVd ‘(O00 NSSYOTVM| C66EL APM
o0r'Z18 SOLE ld Od3IAO | FTONINAS ‘OO NSSYOTVM| 8trZsrs8Mad
002'1S8 NIL ATUAXONy | bL9# AOVWYV
[e}OL) Shc .  AyO seAng| SEL ss

 

 

 

 

US-DEA-00000080

 

 

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 25 of 40. PagelD #: 358448

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

  

 

  

    

 

  

 

    

SOONV :eqnN[Sg yur) sishjeuy pue Gunabie, ‘uonoag suoneBysanu) jeonneoeuUeY, ‘|OUOZ LOISIAAIG JO BOLO ‘UOHeNSiUWpy jUsWedoCyUa Brg zZjoz obeg
ZLOZ/E0/PO : posedaig aeq

001‘991 SLZ99| Sy) VXAN31 NOSNHOP “ON! ONHG AYY3d} 791290ld4/0S
OO9'LZL LZoee 14] QOOMATIOH QuvMOud) ADVWYVHd LNNOOSICG GOOMATIOH| S20-LeZcHv | 6P
OOL*LLL L08Z€ NL ATUAGHVNAVA NOINN ONI ADVWYHVHd STHUAGHYVNAVW 6822081W4)/8P
0001 OLLEC: Td] OoYv] SVTIANId ‘(OD N3SYD TIVM| SE60SOEMY| LP
006'EZ1 8cl68) AN SVSIAA SV1 MYVv19 “ONI ‘S\NOSLYSE TV MSN] SOSsereValor
OOr' PLL 8Y6EE Vd) ALLOVYVHO LYOd SLLOTYVHD ‘OO NSSY9 VM, O88lOlLeMd| SP
OOr'ZZ1 LOLEE 14} SYNESY3aL3d LNIVS! SVTTSNId| _ ‘OD NASYOIWM| HE Lee6pMal| ry
OOr' ZZ ESOre Vd, ABHOR LYOd M3N_ OOSVd ‘OD NASYOWM| 88rEcSOMA| Er
oog'sZ1 €Z661 3d quyosvas | X3Ssns “ONI SAYYVH AddVH| Z¥ceS80Hs| er
006'821 60Le¢e 14} SYNEGSYSL3d LNIVS! SVTIANId ‘OOD NSSYO WM, 6528S22Md | bP
002'081 eOLEE ld| SYNgSY3al3ad LNIVS) SVTTANId ‘OO NSSY9 WM ESLLPOSMY! OF
000'S8L 9.880 CN MOIMSNNYS LSV3 | xXSSSaIGGINnN AOWWYVHd YOSGNIM| 89S8086MV|6E
008'8s8t LbLeZze NL! ATIAHSYVN! NOSCIAVG SONY WaAd VEC DTI NVAWLYVH 3] Z89e0S63q/8e
002'061 PLOcEe 1A! VdWVL| HONOYOESTIH AQOVWYVHd ASIMHLIVSH| 60ES82PHE| ZE
OOZ'L6L 91880 TN) MOIMSNNYd LSV3 XS3SSATCOCIN ‘ON! “OO NYSLSVS NSSYO WM! 82 -E80LSME/9E
006161 GOLCE 7A OdsIAO STONINSS ‘OD NSSYO WM SLPZOSSMG|SE
00S‘961 c96ZE 14! HOVWSd OSA Y3AIY NVIGNI ‘OD N3SSYND WWM| 6268087 Ma

sou} iz] RRS] - Aj, $.4eAng} -Ajunod s.iaAng ~~ SweN’SJeAng WINN

ae ng} s,ekng . | vad}

 

 

 

 

 

 

 

 

 

 

 

 

US-DEA-00000081

Confidential — Subject to Protective Order
 

Case: 1:17-md-02804-DAP Doc #; 2273 Filed: 08/13/19 26 of 40. PagelD #: 358449

SODYV :2824un0S
yur) sishjeuy pue Suljasuey ‘UOIDag SUOI}EBIVSaAU| [2D!INSIeWAeY “|O1JUOD UOISIAAIG JO BD1JJO ‘UO!JEsJSIUIWpY JUaWAaDIOJUQ 3NIG

ZT0Z/0€/90 :pasedaig ajzeq

€ JOT a8eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

00z's9 | Lv66T | 30 | | NMOLIDUOIO XaSsns| ‘INI S,AUNWH AddVH| TvEp<86He | vz i
ooo'z9 =, vS966 | YW |) CTISWM|_WNLISNS WISNNVIVIN “OD NBUDIVM) ZISzZpIMA «EZ
009‘69 j Tosoc | Vio LAW! -BLUBAWSV1 > DTI ADVINUWHd FGISHLHON] 98ES8TZNE = ZZ
00969 ~=—sssze6ZE | NI STIAXONY, XONY 919 # ADVINUWHd ALID GOO4| +68008ZT44 TZ
o0z‘oL ~t0ssz AM Aa1NO38 | —_-HOITWY “ODNIIUDTVM) GS9EZZTMS 02
oov’o¢——toot#,—0=S==SS*~SC TR N—=S*S*~CI==SSSS*S*S*SNRTM) eG
000'%2  €466T 30 van TNOSWAS) XassnS JNISAMEVH AddWH) EPCESBOHS | ST
008% =| S096Z | OS ITNANII| ~—STIANS3UD, NUD SSOUD ADVINVHd BLVISdN| ZTSOOLTNd LT
oor’ es | veztz | Gn, aTANYWd JYOWILIVS: ‘OD N33NDTVM| ETvOZELMG OT
000'rL toss? | AM  ~——sSASINO HOIF1Wu ‘OD N3IUDIVM) PLSPyTIMd | ST
oos’sc = 80ZES IM _ —aYAVMIIW) XN ‘OD N3RUDIVM| 9660SOVME | tT
008'sL = T90TZ_=—S WSs INUNG NZIS) =~ T30NNUVINNV. ___ AOWWUVHd SYBMOLNIVYD! EPETIEROG =—sET SC
oos’sc =| S6870_ Ys SNDOSNOOM) =————s SO NIAO Ud! ‘INI “OD NUILSV3 N3IUOTVM sSse6osma 21
Qov'9c =—=séEE@VE =O d SLOSS VLOSVUVS, ‘OD N3IUDIVM) EvGOEVSMVY TT
0096 = Zz0S8_—s ZV _ XINZOHd “WdOOVA ss THAIN WNOZIMV) 9T9BvEZVS = =— «OTS
009‘T8 —@Oz@ST Vd HOUNESLUId ore. “SdaSNONVUd! €088Zpyid 6
00s'Ts = 499VE_ _NOSGNH, OOSWd_ OD N3IUDIVM! Z66ETZbMa 8
00978 = @29Tb AC NUaiSv3, = GAOT. = “NI ‘ADVINUWHd ATI GUVMOH 666bSbTHS L
000‘r8 GEIST Vd “LNOWVO. AN3HO3TIV 3ddOHS 3NIDIGAW 3HL  pbbZ9TOLa 9
000‘88 616ze = NL “3TIAXONN =——<‘i~‘~SCSCSXON L9H ADVWYWHd ALIDGOOd 9zS000448 SC
O00‘pOT «ss €966T =: QUuOsTIW XaSsns: “"ONI‘S,AMYWH AddVHi ZISTSTTHS =p
008‘SOT = TO8SZ SAM A313 —HOISTVY ONI ‘ADVINUVHd SSVdA8 = 9bbEPO7ES €
009'ZZ1 g0S66 AV JOVYOHINY JOVYOHINY © ADVINUVHd S.7INNaa = L6ybbz6aV z
00z‘ZET zzzes IM JaINVMIIW JNVM IU, ‘OD N3RUDTVM _T6SLE8SMA T

jejO] diz 37e1s AID s,saAng Ayunoz s,4aAng aweN s,aAng Jaquinn yuey

s,jaAng | s,4aAng via
s,JaAng

 

 

 

 

 

 

 

 

 

ZLO? ‘O€ OUNL O} ZLOZ ‘| Arenuer

(L1-828Z-8ZZ00 OGN) Bwig}, auopodAxO Jo sajes
soloeUUeud OG do,

 

 

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US-DEA-00000082

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 27 of 40. PagelD #: 358450

SODY¥W :804uN0S
wun siskjeuy pue Suijasie) ‘U0IDa¢ suo! eBisanuj [ed1yNadeWeY ‘|O1]UOD UOISUBAIG JO d1JJO ‘UO!JesSIUIWIPY JUaWaII0jUR 3NIG

ZT0Z/0€/90 :pasedaig ajeq

€ JO 7 aged

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

o00'%S =—si(sswOHET | 3G uzAOd, LN3| ‘INISAWYWH AddVH| ST8S680HI |  8P
0092S (tocetT. 30 i s—~—*«é USV)M3N———S—=S~*~*~*~S:SCSNT SAH AWH| 9ZOSZBEH Lb
0097s aa 3d NOLONINTIM, = SW M3N ‘INIS,AUYWH AddVH| OPOSZ86HE | (OF
oog'zs sygoz GW VI ‘STH CONEUDTM| ZESTGOMA SY
oozes = O@@vS_ | «SIM = OMOLINVW) =——COMOLINVN ‘OD N3IUDIVM| SSSPEBEMA | bY
Oor'es =, *TS0S8 | ZV XIN3OHd = ODN) «= ‘OD SNUG WNOZINWN3IUDTWM| ZEZOZISMV ED
oos'es ogsez ON NURMGN SAVED ____AOWWNUVHd dvoia3aW| Ze980csWe Zh
Oos'vs 9880 IN DIMSNANALSWa—XASSTGGIN) —“DNI“OD NUALSWANZZUDTVM| BLTSOTSMa | Ty
000'9s yS966 | WV VTIISVM) VNLISNS VISANVIVA| ——_ADVIARWHd TWNOISS340Ud WNLISNS| 6S66ZP/S8 Ov
000'9S gozes | IM |  —_-aaNNWMIIIN INVMIIW ‘OONSIUDTVM! B6YETTSMA GE
002'9S s00T8 =O. _O183aNd -o1gasnd ‘OD NITUDTVM! O6LLSO9ME = BE
00v'9S = v€080— IN TH AYaaHD N3QWV), _ONI‘ADVINVHd OZ Lu! OBZEeEzUs = LE
000'8S- y2tc8 WN OHONVY O18 TWAOGNVS ‘OD SONILSVHNATUDTVM EGELSOEME = =—ss«E
000'8S vSO6T Wd NMOLLIA31. Sone = ONT “OD NUFLSVENIFNOIVM BSEPOVEMa —S SE
002‘8s zzvs6 = WO ~ ayvT¥v3a70 Dv ADVINUVHd 311 ST097Z618 ve
009'8S z6eS8 ZV _31VGNOAV _ — WdOONVIN _- AQWIWUVHd aYVD SSaNdX O9SSZ79IEX = ECE
008'T9 €09€ 714 ‘VWdWVL == HONONOSSTUIH ODN3RUDIVM 80GEPTZMa ——ZE_
oov'z9 voo6tT Vd GAMNAD V1V8_ RBINODINON AD VINWHd HOGUVGSW SZBPOLTNA ~— TE
000‘€9 SP6EE 14 = ALLOTUWHD LUOd 3LLOTYVHD ‘OON3IUDTVM O88TOTZMa _—OE
000'E9 peziZ GW ts SLIGO ~~ OD NSRUDIVM PELBL99MG GZ
000‘€9 zOzve =O “14 NOLNJGVua: _3RLVNV “TT VLOSWUVS 4O S3DIAUAS MI G89SOETIG = BZ
o0v‘e9 €lOLe NL HOOILNV: -NOSGIAVG = ONTADWINUWHd SSINTI3M3HL 99TS8P4ia = LZ
000‘r9 e1sze ‘14 — OGNVTHO JONVYO == ‘DN ‘SDIAUSS TIVIN SN33UDTVM. GL80T68Ma =—S—«9Z
00v‘v9 g0ess_ ZV _31VGN319. VdOOlNWW ‘OD DNUG WNOZINV N33YDTWM TSL6T8EMA SZ

J2301 diz 3383S AyID s,zaAng Ayuno9 s,4aAng aweN saAng) saquUnN yuey

s,4aAng | s,ze@Ang vag
s,JaAng

 

 

 

ZLOZ ‘OE Eun O} ZL0Z ‘| Avenuer
(LL-8282-8ZZ00 OGN) Bug, auopodhxO Jo sajes

SeloeuUeud OG do,

 

 

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US-DEA-00000083

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 28 of 40. PagelD #: 358451

SODYV :224N0S
yun siskjeuy pue suijagse| ‘U0IIIag SUONeSNSSAU| fedjNadeW ed ‘]O4}UOD UOISJAAIG JO BDO ‘UOIJEJS!ULWIPY JUaWaIIOJUy Bnuq

 

 

 

Z10Z/0€/90 :pasedaid ajeq € JO € a8eq
000‘2S sOzve =—O_sO1 NOLN3IGVUS JILVNVIA ‘OI N3INDTVM TrSOzZO9MV = =—s«OS.
000‘2S sO¢cpe §=6d NOLNIOVYs JILVNVAW ‘OD NIAUDIVM. ~OTZTOZOMV 6t
2101 diz 3321S AqD s,aaAng Ayunos s,4aAng SWeN SJaAng Jaquinn yuey
s,4aAng | s,4aAng wid
s,4aAng

 

 

 

 

 

 

 

 

 

ZLOZ ‘O€ EuNL 0} ZL0z ‘| Avenuer

(LL-8Z82-8ZZ00 OGN) Bwig}, audpodhxoO Jo sejes
SoIoOeUeud OG do,

 

 

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US-DEA-00000084

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 29 of 40. PagelD #: 358452

SODUV :a2unN0S
yun sishjeuy pue Buljagie) ‘uolIag SUOIeSISaAu] JeEdJNIDeWIeUd “JO1]UOD UOISIBAIG JO BIO ‘UOIes}SIUILUPY JUaWadIOJUy Ing

Z102/0€/90 :paiedaig ajeq

T4JO T a3eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oot =—s«| S€00T | AN WYOAM3N| == XMOA MSN] INI ADVWUVHd HVS ONIVL] 6y90TZold | eT |
00T Lose |W 3THAZONVH| NVINTIND INI.OD SNUG NOSGNOWGA| 68SZ8rs3a | ZT
002 | ater | IW O1vidNd M3N NaIuuae] INI SONYA OWs4Na| zSsPSztpMV | TT
O0E 6s6es | IM Sungsaaay yNVS| ss SLU DIGS OUNasagay| vsoszseus | OT
00S gzzor | vd | ALIDGYOS| = =——_SNOWLSWUV FUOLS ONUG S,HLINSNIONITY| | S60EV9SNY 6
00S ~ gooze | XL NOLSNOH SIMYVH|S SNIGNNOdWOD GNV ADVWVHd WLOL| e€esrcolyd | 8
| 009 otzzZ | ww NOLIYYOW AVMNOD| «SWS DIG NYG 'BGOOINOLWUYYOW| z8098EOWs | LL
006 {9ozssz | AM |  — 3NWOINENH| ~=————SCWNNL | ANVIIANH JO ADVNVHd HLNUd| G6O9PZTTIG | 9
000‘T yolsg | ZV NOSONL VINId - O9T# SNUG GALINN SWHSWa| 68EZEL6aa S
000'T ZTEOT | AN —GNVISI N3LViS| _ GNOWHDIY|NI ASVYVHd ALTVIDadS 8 SONUG 09130] 9PEzs60Cs bp
00v'z o69sy | HO |  — ATBAVM, ss] QT# AXVWUVHd HLNud| | vOLSPSeig Ee
o0v'z ‘| ts€s8 | ZV ALIONMS| = Wd ODINWWN| «ss WNOZINV JO NW1d HLIW3H WNDID| O6ZzT98vW | Zz
009‘€ O&Z16 | V2 _pNOIWW2ND OHINWY ONIGUVNY3S NVS INI ADVINYVHd 3UV2 NDIND| vrszZeToI | I

jEIOL diz 3315 AyD s,4aAng Aquno) s,zaAng awey s,JaAng Jaquinn yuey

s,4aAng | s,4aAng vad
sJaAng

 

 

ZLOZ ‘O€ OuNr O} ZLOZ ‘| Avenuer

(ZO-vlZ0-ZS1ZS OGN) Bug} euopodhxO Jo sajes
solneuueud OG do,

 

 

 

US-DEA-00000085

7

ve Order |

Confidential - Subject to Protedt
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 30 of 40. PagelD #: 358453

SODYV :380uN0S
Wun sisAjeuy pue Zuljassel ‘uO Iag suO!ZeSISAAU| |eIIJNIDeWseYd ‘|O1]UOD UO!SIBAIG JO BIYYO ‘UO!JesS|UIWIPY JUaWadIOJUg BNIGg

ZT0Z/0€/90 :pesedaig ajeq

€ JO T a8eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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O0PZ | OELT6 ~V~ DNOWVNIOHONWA/ONIGUVNUZENVS CONTA WINUWHd BUD OIND| pHBZiETDI —— 77
_00vz = 069Sh. | HO | ATHSAVM | Mid | - QT#ADVWUVHd HLNYd pOLspsesa | TZ |
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_ 000E “Zeosz | AM JIGSNVTIO4,| —-3NOONS -AOWWUVHd 338SNVTIOS TLOZESHIS AT
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o009z _- SOEOT _~—_—AN GNVISIN3LVIS _ GNOWHOIY INI ADVWYVHd NMOLGIO_v8T€8z608 T
Je) diz 93e1S Ay s,zaAng] Aqunoz s,zaAng awWeN SJaAng) sequNN yuey
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’ $saAng

 

 

 

 

 

 

 

 

 

ZLOZ% ‘O€ OuNL 0} ZL0Z “| Alenuer

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US-DEA-00000086

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 31 of 40. PagelD #: 358454

SODYW :82uN0S
wun sisAjeuy pue Buijasiey ‘uoiIas suoiesysaau] [ed3na.ewW4eUd ‘}01]U0Z UOISJAAIG JO BINJO ‘UOIEISIUIWpY JUaWad0jUuy 3nNIg

ZT0Z/0€/90 :pasedaig ajeq

€ 407 a3eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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008 = 9@SSZ7_ AMS 3NVOINUNH| ~~ WYNLNd _ INVIIMYNH JO ADWWHd HLNYd| 609PZTTda =p
—000T = «9078p IWC Liowi3a0 3NAVM : ‘ONI ADWINUWHd 349 NANILWId) Z€909P9da ep
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| 000T 46987 | ON — ONOBSANTIM Sam _ AOVIWUVHd ATI SANTIM, Z2020906Ma - Ob
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OOTT Be HO QNVI3A31ID, VSOHVAND =| = ——“‘i‘;*‘C WNW ASODMOTNUVIO 8BLBPLTII = BE
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_ 00st TIT6t Vd =I 13QVIIHd—VIHd130VTIHd ______NIADVWUVHd VIOINYS) TI98SOzSd = EE
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009T vOLS8 ZV NOSINL  —- WWI O9T# SNUG GALINN SWHSWa 68Ezecega =—siOE:—C=*”d
OOLT  €0Tvy ~=——- HO GNV13A319: VSOHVAND —__ ADWINUWHd SHYVNDS HIUNHD: POLZ6L095 GZ
O08T SOT80 IN N3GWIV2 = N30WVv2_ OINOLNV NVS VIOVWUV4) PLcéppcdd 87
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0002 Z00LO. = FN JNNOAVa. —- NOSGNH 1d30 ADHd 3H NIIND. LEzvEPZOV SZ
JEIOL diz 37e1S AqID s,4aAng] Ajuno3 s,saAng awen saAng| saquinn yuey
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ZLOZ ‘O€ EuNF 0} ZL0z “| Avenuer

(ZO-GLZ0-ZSLZS DOAN) HwigE auopodhxO jo sales
saloewdeud Og do,

 

 

US-DEA-00000087

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 32 of 40. PagelD #: 358455

SODUV :824N0S
yun sisAjeuy pue Bujasie) ‘UolIas suONes sau] jed1jNadeWeU, ‘|O1]U0D UOISLAAIG JO BIUJO ‘UOIJeI}SIUILUPY JUaWaDIOJUZ 3n4g

 

 

 

Z10Z/0€/90 :pasedaig ajeq € JO € a8eq
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009 7OL8T Vd JydYyVd SANTIM JNY¥3ZN1 ADVWYVHd S.01OUYVH § pSZ8EEZ71V 6p
jeyOL diz 33e1S Ayig s,4aAng] Aquno> s,zaAng awen s,4aAng Jaquinn yuey
s,4aAng | s,saAng vad
s JaAng

 

 

 

 

 

 

 

 

 

ZLOZ ‘O€ EuNr 0} Z10Z ‘| Alenuer

(Z0-S1LZ0-ZS1LZS OGN) Bwo¢E aUOPOdAXO Jo sajes
SOIDBWULUd OG do],

 

 

US-DEA-00000088

Confidential — Subject to Protective Order
 

Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 33 of 40. PagelD #: 358456

SODYV :824uN0S
wun sishjeuy pue duijasuey ‘UOIIa¢ suO!}e3!{sanu] [ed1jNadeWeYd ‘|01]UOD UOISIAAIG JO BdJJO ‘UOIEsJsIUIIpY JUBWaII0JU BNIg

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ZT0Z/0€/90 :pasedaig ayeq € JO T a8eq

000'TET Tzt68 | AN _ SWD3ASVI WUVTO ‘OD N3RUDTVM] TéZZecsma | vz |
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oos‘zet | 80T68 | AN svoaAswy] =—oTDsss | —its—‘“—~—s~s~s—SCCSCCCCC*‘«S NUD TWMA]| ZzZ™BGHMM | ZZ
oos‘zet | pt9ee | 1d _ WdWWvi] HoMONOssTIH | __AQVWUVHd 3SIMHL1V3H| 6OES8Z~Ha | = TZ
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oos‘rer | coreg | AN. —SvO3ASVI] VID ‘OD N3aNSTVM| Loztzvsma | 6T
009'9€T ztzs8 | 2v | | NOSONL VNId (0D SNUG WNOZINV N3IUOTWM| GITZELSMV | BT
oos‘9et =| 8zT6T | Vd | WIHdT3QVIIHd| VIHdI3QVIIHd | _ _XOWINUVHd SNINdOH] P8690ETHS | ZT
oo.‘zetT =| L99vE | 14 NoOsanH oosvwd fs ‘OD N3TUDTVM| ZEGETLYMG | ST
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OOT‘9st | O€068 | AN | SVD3ASWIHINON| UV =| OO N3RNDTVM| LZ6E96~Ma 8
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008'E6T 91830 | (N | YOIMSNNYs Lswa]  X3S371GGIW ADWWYVHd YOSGNIM! sgssosemv | 9
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002622 ze6ce | NL ATIAXONY XONY _ 9T9 # ADVINUWHd ALID GOO4| 68008744 €
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001 ‘829 6t6ce | NL 3TMAXONY XON v9# ADWWUWHd ALID GOO4| 975000238 T

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s,4aAng | s,4aAng vad
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ZLOZ ‘O€ OUNL O} ZL07 “| Atenuer

(LL-628Z-82Z00 OGN) Bwo¢g euopodAxO Jo sajes
soloeuUweud Og do,

 

 

US-DEA-00000089

Confidential — Subject to Protective Order
Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 34 of 40. PagelD #: 358457

SODYV :9824N0S
yun siskjeuy pue Bunagziey ‘uoiIa¢ sUuO!eSIsaAu] [eIINaDeWeU, ‘[Os}UOD UOISJAAIG JO BIO ‘UOIes}SIUIWIpY JUaWaIOJUA Snug

ZT0Z/0€/90 :pasedaig ajeq

€ 40 7 a3eq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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00s‘zot ~—s |: Tossz | AM —_AaTO3a] —HOIVY - ‘OD NIRUDIVM| G6S9EZZIMA | SP
oot‘eot =| segz6 | vd -NOLYATINA] ~—- JDNWHO INI LNSWLS3ANI IND] véZ€98004 | vy
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00Z‘bTT ZT€or | AN |  GNVISIN3LWIS} GNOWHOIN “ONT “OD NUBLSV3 NIINOTWM| ssossesma | TE
OOT‘STT Toots | 09 —o1gand| = ogand Ss OD N3RUDIVM| 906Z669Ma | CE
00S‘9TT SO€OT | AN | GNVISINALWIS| GNOWH3IY "ONI “OD NYALSV3 N33NDTVM| ZZvZZ9TM4 62
00Z‘6TT 6p8e | NL TIAMOd| = XONY_—sid Saas ADVINUVHd AINSIG| 8Z66r9Ta8 82
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009‘82T T9880 | [N “AOS HLU3d] = X3S3710CIN ADWIWYVHd WNOAWHS| S6Z6TZZS8 92
009‘67T z1gzé | 1d OGNVTHO| —_39NVO ‘OD NIFUDTVM| Ls6zssoma | SZ

e101 diz 3781S Aya s,zaAng] Ajunos s,szeAng awey saAng Jaquinn yuey

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ZLOZ ‘O€ OuNF O} ZL 02 ‘| Avenuer

(LL-628Z-82Z00 OGN) BwoE euOpOdAX_O Jo sajes

SOIDPUUEUd OG do]

 

 

US-DEA-00000090

Confidential — Subject to Protective Order
 

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SODUY ‘20uNn0S
yur sisAjeuy pue Zujasiel ‘uoljda¢5 suoijesijsaau| jedIINaIeWIeY ‘]01}JUOD UOISIBAIG JO 9I1JJO ‘UONeIjSIUILUPY JUaWIadIOJUa 3NIGg

 

 

ZT0Z/0€/90 :pasedaid a3eqQ €jO¢ ase
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je}O) diz 937e1S Ay s,aaAng] Ajyuno s.jaAng awenN saAng JaquinN yuey
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ZLOZ% ‘O€ Eun O} Z1.0z “| Alenuer

(LL-6Z8Z-87Z00 OGN) BwoE auOpOdAXO Jo sajes
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US-DEA-00000091

Confidential — Subject to Protective Order
 

Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 36 of 40. PagelD #: 358459

The following charts and graphs have been compiled
from ARCOS reports your firm has previously
submitted to DEA. The data was reviewed and the
purchases of a few of your customers will be
addressed during our discussion.

The mentioning of specific customers is NOT to be
implied that the sale of controlled substances to these
customers is illicit or that they may be involved in
illicit activities.

It also should NOT be inferred that based upon the
documentation provided to you that your company
should terminate or restrict business with any
customer discussed for the purposes of this
presentation.

It is incumbent upon you to know your customers,
fully review all orders for controlled substances and
to exercise due diligence procedures prior to deciding
whether or not to terminate or restrict sales to any
customer.

September 12, 2012

Confidential — Subject to Protective Order US-DEA-00000092
 

 

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Case: 1:17-md-02804-DAP Doc #: 2273 Filed: 08/13/19 38 of 40. PagelD #: 358461

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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